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                   THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 EAST GATE-LOGISTICS PARK                   )
 CHICAGO, LLC and NORTHPOINT                )
 DEVELOPMENT, LLC,                          )
                                            )         Case No. 1:24-cv-3742
         Plaintiffs,                        )
                                            )
         v.                                 )
                                            )
 CENTERPOINT PROPERTIES                     )
 TRUST; CENTERPOINT JOLIET                  )
 TERMINAL RAILROAD, LLC; and                )
 HOUBOLT ROAD EXTENSION JV,                 )
 LLC,                                       )
                                            )
         Defendants.                        )



                                     COMPLAINT

        Plaintiffs East Gate-Logistics Park Chicago, LLC (“East Gate”) and

NorthPoint Development, LLC (“NorthPoint”), by and through their attorneys, bring

this action against Defendants CenterPoint Properties Trust (“CPT”), CenterPoint

Joliet Terminal Railroad, LLC (“CJTR”), and Houbolt Road Extension JV, LLC

(“HRE”), and allege as follows:

                              SUMMARY OF THE CASE

        1.     Access to warehouse space is vital for businesses that ship freight across

the United States. This is especially true near “intermodal terminals,” where freight

is transferred from one mode of transport to another. Freight moving between modes

of transportation often must be stored, repackaged, broken up, and/or combined with

other products in warehouses and distribution facilities before being sent on to the

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final destination. As a result, warehouse users receiving goods via an intermodal seek

out and will pay more for space in warehouses and distribution facilities that are in

close proximity to an intermodal terminal.

        2.      This lawsuit concerns efforts to monopolize and block competitors from

entering the market for commercial warehouse space in and around two of the largest

intermodal terminals in the United States through the collusive actions of related

parties to enforce an unreasonable restraint of trade against an ascendant

competitor. For almost two decades, Defendants CJTR and CPT (together,

“CenterPoint”) dominated the commercial warehouse and distribution facility market

surrounding the United States’ largest in-land port, the BNSF Logistics Park Chicago

(“LPC”), and the Union Pacific’s intermodal facility, the Joliet Intermodal Terminal

(“JIT”). Located less than five miles apart, these two facilities represent the eastern

terminus for goods arriving in shipping containers by rail from all major West Coast

ports and are “the epicenter of the region’s immense transportation infrastructure.”1

In total, the freight that passes through the LPC and JIT (together, the “Joliet

Intermodal Zone”) accounts for approximately 3-4% of U.S. GDP.

        3.      CenterPoint is the dominant supplier of warehouse space in the Joliet

Intermodal Zone. Beginning in the early 2000s, CenterPoint began acquiring land

parcels in the Joliet Intermodal Zone, eventually developing them into the sprawling

CenterPoint Intermodal Center – Joliet/Elwood, “America’s largest master-planned


1 Website for Centerpoint Intermodal Center – Joliet/Elwood, https://cicjolietelwood.com/ (“The park is

at the epicenter of the region’s immense transportation infrastructure, located adjacent to the I-55 / I-
80 interchange and anchored by the BNSF Logistics Park Chicago and the Union Pacific Joliet
Intermodal Terminal.”) (last accessed April 20, 2024).

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inland port.”2 The facility is a 6,400-acre intermodal complex comprising much of the

Joliet Intermodal Zone, with 50+ tenants in warehouses covering some 17 million

square feet.3 CenterPoint touts the fact that its facilities “surround” both the Union

Pacific’s JIT and the BNSF’s LPC, thereby “making [the CenterPoint Intermodal

Center – Joliet/Elwood] one of the most desirable intermodal locations in the U.S.”4

         4.    CenterPoint’s monopoly in the market for warehouse space in the Joliet

Intermodal Zone has meant higher prices and lower quality services for warehouse

users and their customers.

         5.    In 2013, Plaintiff NorthPoint (and later East Gate) saw an opportunity

to bring competition to the warehouse market and to disrupt CenterPoint’s monopoly.

In the following years, East Gate and its affiliates acquired thousands of acres of land

for a competing warehouse project and obtained entitlements from various governing

jurisdictions (primarily the City of Joliet) to allow that project to move forward. Of

critical importance to many warehouse users in the Joliet Intermodal Zone, the East

Gate project’s infrastructure was all designed to accommodate trucks carrying “heavy

weight” loads, i.e., those for which the total weight of the truck and shipping container

exceeds 80,000 lbs.

         6.    Up to present, East Gate (directly and through its wholly-owned

subsidiaries) has invested hundreds of millions of dollars into its project, has acquired

approximately 3,200 acres, which could support approximately 40 million square feet


2 Id.
3 Id.
4 Website for Centerpoint Intermodal Center – Joliet/Elwood, “Intermodal Providers,”

https://cicjolietelwood.com/intermodal-providers/

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of warehouse space, to compete with CenterPoint’s warehouse facilities, and is in the

process of completing the construction of three warehouse buildings comprising

approximately 3.4 million square feet. If these warehouses are connected to the rest

of the Joliet Intermodal Zone by direct, truck-accessible, public roadways, East Gate

will be able to compete with CenterPoint for tenants who want or need to establish

warehouse or distribution centers adjacent to the intermodals.

        7.   CenterPoint learned of East Gate’s intention to enter the market by

early 2016. To protect its monopoly, CenterPoint embarked on a plan to block East

Gate’s entry, knowing that East Gate presented the most serious threat to

CenterPoint’s control over the market.

        8.   CenterPoint’s plan was to block competition through the use of an

agreement to build a toll bridge over the Des Plaines River that would connect

CenterPoint’s warehouses with the closest interstate highway (the “Houbolt Road

Toll Bridge”). Under this agreement—a Memorandum of Understanding (the “MOU”)

between CenterPoint and the City of Joliet, the Will County Division of

Transportation, and the Illinois Department of Transportation (attached as Exhibit

A) —CenterPoint agreed to finance the Houbolt Road Toll Bridge. CenterPoint later

assigned all of its rights, obligations, interest, and title in the MOU to Defendant

HRE.

        9.   CenterPoint and HRE have advanced a dangerously anticompetitive

interpretation of portions of the MOU—one with far-reaching consequences for East

Gate’s ability to compete and for competition for warehouse space around the



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intermodals. According to CenterPoint and HRE, in Section XII.B(3) of the MOU, the

City of Joliet and Will County purportedly agreed to give up all authority to

regulate or modify weight restrictions on roads in and around the Joliet

Intermodal Zone for a period of 40 years.5 According to CenterPoint and HRE,

this restriction can only be removed with CenterPoint and HRE’s unilateral consent.

        10.   HRE is selectively enforcing Section XII.B(3) of the MOU to prohibit

East Gate and its customer’s from accessing East Gate’s development. HRE is doing

so to allow CenterPoint and HRE to block competitors from entering the market by

unilaterally prohibiting the City of Joliet from exercising its authority to regulate the

weight limits for a road connecting East Gate's warehouses to the intermodals. This

course of action has and will continue to have a devastating impact on any developer’s

ability to offer competitive, convenient, and economical warehouse space in

competition with CenterPoint's monopoly in the Joliet Intermodal Zone. Absent the

City of Joliet’s retention of the right to address and regulate public road usage,

including truck traffic for competitor warehouse projects, there is essentially no

means to change the “status quo” of CenterPoint’s stranglehold over the warehouse

real estate market in the Joliet Intermodal Zone. And because of the MOU’s 40-year

term, it would solidify CenterPoint’s monopoly for years.

        11.   To compete with CenterPoint, warehouse operators must be able to offer

their customers the ability to move freight in and out of warehouses with heavy

tractor trailers. This is particularly true for warehouse users moving heavy shipping



5 Pursuant to Section XVI of the MOU, the MOU has a term of 40 years.



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containers between the intermodals and a warehouse. Without granting the

temporary connection that the Third Coast Intermodal Hub project requires, East

Gate’s customers would be foreclosed from moving shipping containers to and from

their warehouses via a direct, economical, and safe trucking route. Given the vital

importance of moving heavy shipping containers between the railyard and the

warehouse via direct, economical, and safe routes, many warehouse users will have

no choice but to use the more expensive CenterPoint warehouses, thereby further

entrenching CenterPoint’s monopoly position.

         12.   Since the MOU went into effect, the City of Joliet has publicly recognized

the importance of allowing East Gate and its customers to use heavy trucks on select,

appropriate roadways to encourage investment, job creation, and growth of the

overall market and tax base. As a result, the City approved East Gate’s plans to enter

the warehousing market in the Joliet Intermodal Zone by granting numerous zoning,

subdivision, and other land development approvals. As part of these approvals, the

City of Joliet agreed to temporarily permit truck access on Millsdale Road leading to

East Gate’s warehouses, thus allowing East Gate’s customers to use tractor trailers

to move heavy shipping containers between the intermodals and East Gate’s

warehouse facilities and decreasing truck traffic on local roads and bridges. The City

approvals also included numerous other required traffic improvements for the Third

Coast Intermodal Hub project to ensure the efficient and safe flow of traffic in the

area.

         13.   This should be the end of the story. But it is not. Recognizing East Gate



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as a threat to CenterPoint’s monopoly position, HRE, which was assigned all right

and title in and to the MOU, took legal action to enforce the anticompetitive

provisions in the MOU on CenterPoint’s behalf by suing the City of Joliet in Will

County Circuit Court and seeking an injunction prohibiting, among other things, the

City of Joliet permitting East Gate to use its temporary connection to allow trucks.

        14.   HRE’s stated purpose of that suit was to prohibit the City of Joliet from

complying with the express terms of East Gate’s city-approved entitlements allowing

a temporary access point from East Gate’s project on a weight-restricted roadway

(Millsdale Road). The purported potential damage to HRE as alleged in that lawsuit

is that East Gate’s project, with tens of millions of square feet of development and

related user activity, would somehow effect a loss of toll revenue for the Houbolt Road

Toll Bridge notwithstanding the significant additional truck traffic generated by East

Gate’s development.

        15.   The City of Joliet has opposed and continues to oppose that lawsuit on

several grounds, in particular that the MOU did not and could not strip the City of

its inherent police power to regulate city roads for the public health, safety, and

welfare notwithstanding any purportedly contrary provision of the MOU. Likewise,

IDOT also objected to the purported rights CenterPoint and HRE read into the MOU.

        16.   On March 19, 2024, the Circuit Court in Will County enforced the

anticompetitive provision in Section XII.B(3) the MOU and issued a temporary

restraining order enjoining the City of Joliet from, among other things, permitting

the use of the temporary access point for the East Gate project.



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        17.    In obtaining this decision, HRE relied on the above-noted false

statements concerning “lost tolls” despite the obvious effect of East Gate’s

development: a significant increase in use of the Houbolt Road Toll Bridge as more

vehicles would enter and exit the Joliet Intermodal Zone. However, HRE’s lawsuit

was never about lost tolls or any other genuine commercial need, but rather was a

sham undertaken at the direction of, or in concert with CenterPoint to block East

Gate’s entry into the Joliet Intermodal Zone’s warehouse market and preserve

CenterPoint’s monopoly, with HRE’s action under the MOU being the most

convenient means for the two parties to act together to achieve CenterPoint’s

anticompetitive aims.

        18.    In conjunction with HRE’s lawsuit, CenterPoint also engaged in a

misinformation     campaign    concerning       East   Gate’s   Joliet   Intermodal   Zone

development to potential tenants in an attempt to win developments and leases at

East Gate’s expense. For example, prior to any ruling by the Court, CenterPoint told

multiple potential tenants that East Gate lacked tractor-trailer accessible roadways

via Millsdale Road between the LPC and JIT and East Gate’s warehouses—the

essential route for moving freight between East Gate’s warehouses and the

intermodals.

        19.    NorthPoint and East Gate believe they have no choice but to bring this

action now in federal court to enjoin and declare invalid Section XII.B(3) of the MOU

to protect the hundreds of millions of dollars already invested into the East Gate

project (and future profits from that investment and future investments to be made



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within its project), and to put an end to the unlawful efforts of CenterPoint and HRE

to prevent competitors from entering the Joliet Intermodal Zone. Every day that East

Gate is forced to compete under the cloud caused by CenterPoint and HRE’s

anticompetitive action further solidifies CenterPoint’s monopoly, and causes harm to

warehouse users who rely on competitive prices for the shipping and warehousing of

the many billions of dollars of goods traveling through the Joliet Intermodal Zone

each year. And given the clear nexus this case has to interstate commerce, application

of the federal antitrust laws is appropriate to enjoin and remedy the ongoing harm.

        20.    NorthPoint and East Gate seek a declaration that the 40-year limitation

on the City of Joliet’s ability to modify weight restrictions on local roads, as set forth

in Section XII.B(3) of the MOU, violates the federal antitrust laws, as well as an

injunction barring enforcement of Section XII.B(3) against the City of Joliet.

NorthPoint and East Gate also seek an order preliminarily and permanently

enjoining CenterPoint’s and HRE’s unlawful actions and (1) damages for

CenterPoint’s and HRE’s anticompetitive actions and agreements that violate state

and federal antitrust laws; (2) disgorgement of profits CenterPoint unjustly received;

and (3) damages from HRE for aiding and abetting the unlawful actions of

CenterPoint.

                                       PARTIES

        21.    Plaintiff East Gate is a Delaware Limited Liability Company, is licensed

and registered to do business in Illinois. East Gate is the developer of a project in the

Joliet Intermodal Zone commonly referred to as “Third Coast Intermodal Hub.”



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        22.   Plaintiff NorthPoint is a Missouri Limited Liability Company that is

registered to do business in Illinois, and NorthPoint is the manager of East Gate.

        23.   Defendant CPT is a Maryland real estate investment trust. CPT is the

manager of CJTR.

        24.   Defendant CJTR is an Illinois Limited Liability company with its

principal place of business in Oak Brook, Illinois and is licensed to do business in

Illinois. CJTR is in the business of developing and managing industrial real estate

and multimodal transportation infrastructure.

        25.   Together, Defendants CPT and CJTR are referred to herein as

“CenterPoint.”

        26.   Defendant HRE is an Illinois limited liability company. HRE is a joint

venture between CenterPoint and United Bridge Partners. CenterPoint has a major

financial investment in HRE and exerts control over HRE’s operations—for example,

CenterPoint executives sign agreements and attend meetings on behalf of HRE. As

such, HRE is under CenterPoint’s control or otherwise willfully acts in concert with

CenterPoint pursuant to an agreement to achieve CenterPoint’s anticompetitive

goals. HRE is also the assignee of all CenterPoint’s duties, obligations, rights, title

and interest in the MOU. HRE is engaged in financing, constructing, engineering and

operating improvements and roadways between U.S. Route 6 and Schweitzer Road,

principally the Houbolt Road Toll Bridge.


                           JURISDICTION AND VENUE

        27.   This Complaint is filed and this action is instituted under Sections 4 and


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16 of the Clayton Act (15 U.S.C. §§ 15, 26) to enjoin and declare invalid Section

XII.B(3) of the MOU and to recover the damages caused by past and continuing

violations of Sections 1 and 2 of the Sherman Act (15 U.S.C. § 2), the Illinois Antitrust

Act (740 ILCS 10/3), unjust enrichment, and aiding and abetting.

         28.      This Court has original and exclusive jurisdiction over the subject

matter of this civil action under 28 U.S.C. §§ 1331 and 1337. This Court may exercise

supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

         29.     Venue in this District is proper under 28 U.S.C. § 1391 and to 15 U.S.C.

§§ 15, 22, and 26 because a substantial part of the events or omissions giving rise to

the claim occurred in material part within this District and the Defendants

maintained a significant place of business in this District. The Joliet Intermodal Zone

and the CenterPoint warehouse facilities at issue in this lawsuit are located in this

District.

                FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

    I.         CenterPoint’s monopoly over the commercial                  real   estate
               development market in the Joliet Intermodal Zone.

         30.     The Joliet Intermodal Zone contains two of the largest intermodal

facilities in the nation, including the nation’s largest in-land port. It is situated 40

miles southwest of Chicago, south of the Des Plaines River, near I-80 and I-55, and

southwest of Joliet, Illinois.




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The location of the LPC and JIT intermodals in the Joliet Intermodal Zone

        31.   CenterPoint began acquiring land in the Joliet Intermodal Zone in 2000

when it acquired 2,500 acres near Joliet, Illinois and Elwood, Illinois. CenterPoint’s

first major development of warehouse space in this area was a facility called

CenterPoint Intermodal Center–Elwood, which included the BNSF Logistics Park

Chicago (“LPC”). The BNSF LPC and the first CenterPoint warehouse opened in

October 2002. The Intermodal Center–Elwood, includes the LPC and many large

warehouses serving a variety of companies, including Walmart, Samsung,

Clearwater Paper, CJ Logistics, RMC, and others.




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                    CenterPoint Intermodal Center–Elwood

        32.   In 2010, CenterPoint completed a second project two miles north of

CenterPoint Intermodal Center–Elwood: The CenterPoint Intermodal Center –

Joliet. As pictured below, the CenterPoint Intermodal Center – Joliet surrounds

Union Pacific’s Joliet Intermodal Terminal (“JIT”) and more than a dozen large

warehouses that serve a variety of companies, including Walmart, Home Depot,

Mars, Canadian Northern, and others.




                    CenterPoint Intermodal Center – Joliet

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        33.    Together, the two CenterPoint facilities—CenterPoint Intermodal

Center – Joliet and the CenterPoint Intermodal Center – Elwood—comprise the

contiguous CenterPoint Intermodal Center – Joliet/Elwood.

        34.    CenterPoint is the master developer of the CenterPoint Intermodal

Center – Joliet/Elwood, and it leases parcels/warehouses to tenants on which they

can operate and manage freight and logistics activities.

        35.    Businesses that ship products through the Joliet Intermodal Zone place

a premium on proximity to the LPC and JIT, because close proximity of warehouses

and distribution facilities to those intermodal facilities significantly reduces the cost

associated with moving shipping containers from rail and into warehouses. In the

shipping industry, the term “drayage” is used to describe these costs. As recognized

by the Urban Land Institute report on the CenterPoint facility in Elmwood, “the

advantage of locating distribution warehouses near an intermodal center is a reduced

drayage cost.”6

        36.    The importance of drayage costs to warehouse users in the Joliet

Intermodal Zone is highlighted by the fact that CenterPoint has an entire portion of

its website devoted to the topic of “Drayage Savings” and tells customers that they

will enjoy “50% Drayage Savings” in connection with using the warehouse facilities

at CenterPoint Intermodal Center – Joliet/Elwood over using other warehouse

facilities in the area, nearly all of which other than East Gate are farther away and



6 Urban Land Institute, Development Case Studies, CenterPoint Intermodal Center-Elmwood, at 3,

available at https://casestudies.uli.org/wp-content/uploads/2015/12/C038015.pdf.

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less accessible via heavy truck.7

        37.    As shown below, CenterPoint controlled virtually all of the land in the

Joliet Intermodal Zone that could be used for large commercial and industrial

developments, including warehouse and distribution facilities. Indeed, CenterPoint

touts that its facilities “surround” the LPC and JIT.




        38.    The primary and immediate threat to CenterPoint’s stranglehold on the

Joliet Intermodal Zone is the land southeast of the JIT and bounded by Millsdale

Road, Route 53, Manhattan Road, and the Union Pacific railroad tracks. This is


7 Website for CenterPoint Intermodal Center Joliet/Elwood, https://cicjolietelwood.com/.



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where East Gate recognized an opportunity to build warehouse facilities that could

accommodate trucks carrying shipping containers and other freight in competition

with CenterPoint. East Gate has already built millions of square feet of warehouse

space on that parcel. East Gate acquired additional land east of that parcel, which

will be connected via a Closed Loop Truck Network, and it will also be used to compete

with CenterPoint in the Joliet Intermodal Zone’s warehouse market.

    II.         East Gate attempts to compete with CenterPoint in the Joliet
                Intermodal Zone.

          39.     In 2013, East Gate began taking steps to develop the property southeast

of the JIT, in the Joliet Intermodal Zone for commercial uses that would compete with

CenterPoint’s warehouse developments. East Gate envisioned a multi-phased project

that would add more than 20 million square feet of industrial/warehouse space in the

Joliet Intermodal Zone in its initial phase, with the potential to expand to

approximately 40 million square feet.

          40.     In September 2013, East Gate began the process of acquiring land in the

Joliet Intermodal Zone. In the following years, East Gate has continued to acquire

additional property and entitlement for its properties, and today holds in excess of

3,000 acres of land for potential warehouse development with City-approved

entitlements to construct approximately 20 million square feet of warehouses at

present.

          41.     In January 2016, East Gate communicated with CenterPoint’s land

broker regarding the overall masterplan for the CenterPoint Intermodal Center –

Joliet/Elwood, and East Gate attempted to acquire land directly from CenterPoint.


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Additional contacts between East Gate agents and CenterPoint agents occurred in

early 2016 related to East Gate’s proposal to build more than 20 million square feet

of industrial/warehouse space adjacent to the LPC and JIT facilities and within the

Joliet Intermodal Zone. East Gate’s project would compete with CenterPoint’s

potential and existing warehouse and distribution assets.

        42.   The East Gate development – the Third Coast Intermodal Hub – would

be connected to the Joliet Intermodal Zone via a portion of Millsdale Road (pictured

below and circled in green) that was not approved for tractor-trailer traffic before the

City of Joliet approved that temporary Millsdale Road access in 2021:




        43.   East Gate’s customers needed the ability to enter the Third Coast

Intermodal Hub via this temporary connection to Millsdale Road, and that connection

would provide the sole means of access for tractor trailers entering East Gate’s


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proposed development, pending future infrastructure improvements (described

below).

        44.   Aside from the temporary connection, the Third Coast Intermodal Hub

would rely on a “Closed Loop Truck Network” in lieu of existing roads, which would

direct traffic towards the Houbolt Road Toll Bridge. As part of the Third Coast

Intermodal Hub development, East Gate also agreed to a number of other traffic

improvements, including the implementation of a significant number of truck

barriers that would prevent trucks from exiting the Joliet Intermodal Zone except

through existing truck routes and other area-wide traffic improvements necessitated

by the estimated traffic impacts of the project. The intent of all of these improvements

was to decrease and efficiently manage truck traffic on local roads and further ensure

that a significant portion of traffic from East Gate’s project would be routed towards

the Houbolt Road Toll Bridge.

        45.   In connection with this development, East Gate conducted a traffic

study that forecasted the Third Coast Intermodal Hub would generate 14,790 daily

site-generated trips in 2032 and 35,320 daily site-generated trips in 2040. Of these

site-generated trips, 2,320 trips would be trucks in 2032 and 5,550 would be trucks

in 2040.

        46.   Of those truck trips, 40% were expected to use the Houbolt Road Toll

Bridge (or 2,220 daily trips in 2040). Assuming that toll rates do not increase over the

next sixteen years, those trips would generate almost $13 million annually.

        47.   The City of Joliet recognized that the Third Coast Intermodal Hub would



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increase toll revenue earned by HRE and would require additional trucks to use the

Houbolt Road Toll Bridge, increasing its financial viability, while decreasing truck

traffic on the local road network.

        48.     The Third Coast Intermodal Hub would directly compete with

CenterPoint for warehouse and industrial tenants who use the LPC or JIT, since the

Third Coast Intermodal Hub was designed to accommodate trucks carrying heavy

shipping containers and offers comparable drayage savings as users of the

CenterPoint Intermodal Center – Joliet/Elwood.

        49.     Finally, by adding another commercial real estate developer to the Joliet

Intermodal Zone, CenterPoint would be unable to continue charging supra-

competitive prices in the relevant market as a monopolist.

    III.      In response to East Gate’s attempt to enter the market, CenterPoint
              took actions to protect its monopoly.

        50.     After East Gate began developing the Third Coast Intermodal Hub, CPT

entered into the MOU dated December 19, 2016.

        51.     The MOU was intended to help facilitate CenterPoint’s construction of

the Houbolt Road Toll Bridge, which it did by giving CenterPoint the authority to

charge tolls on the bridge (again, as noted above, the MOU was later assigned by

CenterPoint to HRE). However, another provision purported to restrict the City of

Joliet’s ability to regulate traffic on local roads.

        52.     Specifically, the MOU provides, in relevant part:

        The CITY and COUNTY agree that they will take no steps or actions to
        (1) eliminate CNT's authority to impose tolls and place restrictions on
        North CenterPoint Way; (2) build new roads adjacent to the CNT


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        Intermodal Center on which trucks may travel or build new roads that
        enter or exit the CNT Intermodal Center on which trucks may travel;
        and (3) eliminate trucking restrictions, weight limits, or other
        similar regulations on roads that enter or exit the CNT
        Intermodal Center or on roads that are adjacent to the CNT
        Intermodal Center.

MOU, Section XII.B (emphasis added).

        53.     The MOU defines “adjacent to the CNT Intermodal Center” as all

territory within the area described as the “Study Area” in the MOU.8 While East Gate

is not a party to the MOU and was provided no notice or opportunity to participate in

the MOU negotiations, much of East Gate’s Third Coast Intermodal Hub was

included within the MOU’s Study Area (including its already constructed warehouses

and the location where it needs to connect the Closed Loop Truck Network to existing

roadways to access the LPC and JIT).

        54.    The effect of this provision was to prohibit the development of truck-

accessible warehouse space on the undeveloped land closest to the Joliet Intermodal

Zone.

        55.    Following the execution of the MOU, CPT assigned its duties, rights,

title, and interest in the MOU to HRE.

        56.    On July 23, 2020, HRE entered into a Bridge and Ground Lease

Agreement with the City of Joliet (“Bridge Lease”) that would go into effect upon the

completion of the Houbolt Road Toll Bridge.

        57.    HRE, together with CenterPoint and their partners began constructing


8 The map depicting the “Study Area” appears in Exhibit A to the MOU. The “Study Area” is
approximately bounded by I-80 to the North, I-55 to the West, Route 53 to the East, and Arsenal Road
to the South, with narrow strips extended south of Arsenal Road in corridors along I-55 and Route 53.

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the Houbolt Road Toll Bridge in March 2021 and completed the project in April 2023.

Upon completion, the Bridge Lease went into effect. The Houbolt Road Toll Bridge

became the most direct path between I-80 and the Joliet Intermodal Zone.

    IV.         The anticompetitive provision of the MOU was not enacted
                pursuant to Illinois policy to displace competition, nor was it
                supervised by any entity within the Illinois government.

          58.      Section XII.B(3) of the MOU is not outside the reach of the federal

antitrust laws. At no point did the Illinois legislature consent to giving CenterPoint

a monopoly or near-monopoly over the provision of warehouse space in and around

the largest inland port in the United States. Nor did the Illinois legislature give its

Department of Transportation, the County of Will, or the City of Joliet authority to

create a monopoly for warehouse and distribution facilities. Indeed, the City of Joliet

now wants to allow competition from East Gate, demonstrating that the state entities

involved did not foresee that the MOU might be used to eliminate competition in the

warehousing of goods traveling in interstate commerce. Finally, no state agency or

branch has supervised the enforcement of the MOU as it pertains to the displacement

of competition in and around the Joliet Intermodal Zone. To the contrary, the City of

Joliet has exercised its legislative authority and police powers to prevent Section

XII.B(3) of the MOU from being used by CenterPoint and HRE to restrict its inherent

authority, power, and jurisdiction to modify the weight limits on City roads.

    V.          HRE files a pretextual lawsuit in support of CenterPoint’s
                improper aims to prevent the Third Coast Intermodal Hub from
                accessing the LPC and JIT to maintain CenterPoint’s market
                power.

          59.     In December 2021, the City of Joliet granted East Gate temporary access


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on Millsdale Road to provide the Third Coast Intermodal Hub a tractor-trailer

accessible route to the LPC and JIT. This access was vital to enable warehouse users

in the Joliet Intermodal Zone to move heavy shipping containers between the

railyards and East Gate’s warehouses.

        60.   This temporary connection would be removed upon completion of a

permanent overpass bridge linking the Third Coast Intermodal Hub with existing

portions of Millsdale Road that are already permitted for truck traffic. The purpose

of the temporary connection was to allow the Third Coast Intermodal Hub project to

move forward during the pendency of the permitting and construction process of that

overpass.

        61.   On May 9, 2022, HRE filed suit against the City of Joliet for, inter alia,

breaching the MOU.

        62.   In its complaint, HRE alleged that CenterPoint and HRE’s investment

to build the Houbolt Road Toll Bridge was predicated on limited truck access to the

Joliet Intermodal Zone, and the City of Joliet’s action threatened HRE’s ability to

collect tolls by granting East Gate temporary truck access to Millsdale Road.

        63.   HRE’s lawsuit inexplicably appears intended to discourage truck

traffic and development into the Joliet Intermodal Zone. However, if HRE is

controlled by CenterPoint or is acting in collusion with CenterPoint, HRE’s rationale

for pursuing its lawsuit makes sense.

        64.   During the litigation that remains ongoing, the City of Joliet rejected

HRE’s interpretation of the MOU, and in the City of Joliet’s Response to Plaintiff’s



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Verified Emergency Motion for Temporary Restraining Order, it argued:

        “[The Bridge Lease] expressly, and notwithstanding any MOU
        provision to the contrary, preserves the City’s ability to exercise
        its police powers, which includes the power to adjust weight limits
        consistent with the Illinois Vehicle Code and regulates the use of city
        roadways. . . . Thus, HRE is wrong that the MOU gives it a right to
        dictate how the City may exercise its police powers, as HRE
        contractually agreed otherwise in the Lease, which expressly controls
        over the MOU.” (Emphasis in original)

        65.   HRE’s lawsuit is intended to thwart East Gate’s Third Coast Intermodal

Hub and East Gate’s entry into the Joliet Intermodal Zone. HRE’s lawsuit is not about

lost tolls.

        66.   Indeed, HRE’s lawsuit is plainly pretextual because CenterPoint and

others regularly use Millsdale Road for truck access to CenterPoint’s facilities and

HRE took no action to enjoin CenterPoint’s violations or other violations of the weight

restrictions and truck restrictions on Millsdale Road. For example, the City of Joliet

has previously counted significant violations of the Millsdale Road weight restriction

exiting the CenterPoint Intermodal Center – Joliet/Elwood (on February 22 and 23,

2024, specifically). Since East Gate’s project is not operational as of today, none of

these trucks come from the East Gate project.

        67.   Despite flagrant violations of these weight restrictions, HRE only sought

to enforce the MOU restrictions against East Gate and its Third Coast Intermodal

Hub, and not against CenterPoint, the CenterPoint Intermodal Center –

Joliet/Elwood, or any other entities.

        68.   Nevertheless, on or about February 12, 2024, HRE’s attorneys

represented to the Will County Court in its Memorandum of Law in Support of its


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Emergency Motion for Temporary Restraining Order that the City of Joliet’s actions

“would have an extreme and incalculable negative impact on HRE’s ability to collect

toll revenue[.]” The truth, however, is that East Gate’s development would increase

use of the Houbolt Road Toll Bridge, which is an obvious consequence of the tens of

millions of square feet of warehouses to be constructed by East Gate that would

necessarily be served by significant amounts of trucks. HRE’s misstatements went to

the very core of HRE’s case, because HRE was seeking a Temporary Restraining

Order based on claims that East Gate’s development would decrease use of the

Houbolt Road Toll Bridge.

        69.   Using these arguments, on March 19, 2024, HRE obtained a Temporary

Restraining Order preventing the City of Joliet from connecting the Third Coast

Intermodal Hub with the Joliet Intermodal Zone via a tractor-trailer accessible route.

        70.   In other words, HRE secured an order based on bad-faith, fraudulent

statements about the impact of East Gate’s project on the Houbolt Road Toll Bridge.

        71.   HRE’s collusion with CenterPoint is obvious. In addition to filing a

lawsuit against CenterPoint’s competitor that has the effect of reducing tolls and

harming HRE, HRE is selectively enforcing the MOU and road restrictions against

East Gate while ignoring such violations by CenterPoint and its customers. Moreover,

CenterPoint executives—Edward Harrington and Michael Tortorici—executed

HRE’s Bridge and Ground Lease Agreement. Either HRE is operating under an

agreement to carry out CenterPoint’s unlawful aims, or HRE is controlled by

CenterPoint through CenterPoint’s financial investment in HRE and its ability to



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dictate HRE’s actions. Either way, HRE is complicit in all activities carried out by

CenterPoint to block competition from East Gate and monopolize the market for

warehouse space in the Joliet Intermodal Zone.

    VI.         CenterPoint makes false statements regarding East Gate’s Third
                Coast Intermodal Hub to discourage interest from tenants and
                maintain its market power.

          72.      CenterPoint also engaged in a widespread misinformation campaign

concerning the Third Coast Intermodal Hub to discourage potential tenants from

negotiating with East Gate.

          73.     For example, months before the Will County Court entered the TRO,

consumers of warehouse and distribution facilities in the Joliet Intermodal Zone were

parroting CenterPoint’s misinformation that the Third Coast Intermodal Hub lacked

tractor-trailer access via Millsdale Road to the CLP and JIT. This misinformation

campaign threatened to cost East Gate potential leases.

    VII.        Relevant Product and Geographic Market

          74.     The relevant product market at issue in this case consists of commercial

warehouse and distribution space accessible by tractor trailers and used for the

purpose of storing, repackaging, breaking up, and/or combining freight before the

products are sent on to the final destination. Customers that require such warehouse

and distribution space include big box stores, commodity traders, and third-party

logistics providers. For these customers, storage facilities other than large

warehouses are inadequate substitutes because they lack the capacity to meet the

needs of the above-mentioned users. And facilities that are inaccessible by tractor



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trailers are not reasonable substitutes, because many customers need the ability to

transport heavy shipping containers directly to their warehouses to be loaded and

unloaded.

        75.   The relevant geographic market in this case consists of the Joliet

Intermodal Zone. As described in greater detail below, warehouses and distribution

facilities outside the Joliet Intermodal Zone are not adequate substitutes because of

the increased drayage and logistical costs associated with moving freight to these

more distant and less accessible facilities.

        76.   The Joliet Intermodal Zone is situated at the heart of the United States’

largest in-land port, the BNSF’s LPC, and the Union Pacific’s JIT. Located less than

five miles apart, these two facilities represent the eastern terminus for goods arriving

by rail from all major West Coast ports, and it is “the epicenter of the region’s

immense transportation infrastructure.” In total, the freight that passes through the

Joliet Intermodal Zone accounts for 3-4% of U.S. GDP.

        77.   Containers unloaded at ports, like the LPC and JIT, are transported, or

“drayed,” by trucks to and from warehouses, distribution centers, rail yards, and

other locations outside of the ports at the expense of the cargo’s owners. Although

drayage is a very small component of the supply chain in terms of time and distance,

its cost and potential problems can be disproportionately high. This is particularly

true where containers are transporting goods that exceed road weight limits, a

frequent drayage problem that often requires special permits and additional logistical

complexity.



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        78.         Warehouses within the Joliet Intermodal Zone provide a solution to

these problems because they reduce drayage costs (both in terms of expense, time,

distance, and the number of trucks needed to dray shipments because trucks can

make multiple additional trips). For example, a warehouse located within ten miles

of the LPC and JIT can facilitate twice as many drayage trips per day as a warehouse

located twenty miles away. Businesses that use warehouses within the Joliet

Intermodal Zone also avoid the need to obtain special permits for loads that exceed

road weight limits, reducing logistical complexity.

        79.         Because of their close proximity to the intermodal, warehouses within

the Joliet Intermodal Zone offer unparalleled drayage and logistics benefits that are

essential to many categories of customer. For example, big box stores, commodity

traders, and third-party logistics providers require warehouse space in very close

proximity to the intermodal, and are willing to pay a premium for such warehouse

space. Globalized trade and e-commerce increased the demand for these warehouses.

        80.         In fact, CenterPoint advertises the fact that one such big box store,

Walmart, “has saved $100 on every container move since opening distribution

facilities within the CenterPoint Intermodal Center in Elwood, IL, a strategy that

has yielded millions in drayage savings over the years.”9 CenterPoint further

advertises that “[d]ue to the close proximity of the BNSF and UP terminals, a 500,000

square       foot    distribution    facility     at    the    [CenterPoint]     Intermodal      Center




9  CenterPoint       Website,   “Intermodal     Advantages,”    https://centerpoint.com/media/intermodal-
advantages/.

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[Joliet/Elwood] could realize $400,000 in annual drayage savings.”10

         81.   Given these factors, the demand for warehouses in the Joliet Intermodal

Zone has exploded. However, following the construction of dozens of warehouses, the

land available to construct additional warehouses has dwindled, and CenterPoint

holds only a handful of parcels capable of supporting warehouses. By contrast, East

Gate holds thousands of acres and is poised to construct up to thirty additional

warehouses within the Joliet Intermodal Zone.




         82.   The land identified as “unavailable” in the map above is not suitable for

the development of warehouses for a variety of reasons. These reasons include the




10 Id.



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presence of large chemical plants, a landfill, federally protected lands, a cemetery,

existing commercial warehouses, residential housing, and a racetrack. Much of the

land across the river is already occupied and the land to the east of the Joliet

Intermodal Zone faces the MOU-imposed trucking restrictions.

        83.   Given its Closed Loop Truck Network, East Gate’s warehouses would

offer the same drayage and logistical benefits as CenterPoint’s existing warehouses,

which dominate the market for warehouses in the Joliet Intermodal Zone.

        84.   Warehouse space outside of the Joliet Intermodal Zone, however, does

not offer the same benefits. Drayage cost other logistical costs are substantially

higher when moving freight to warehouses outside of the Joliet Intermodal Zone.

Indeed, CenterPoint specifically markets its space as offering “50% Drayage Savings”

over space located outside the Joliet Intermodal Zone. Warehouses further from the

Joliet Intermodal Zone (e.g., 20 miles or further), west of the Des Plaines River, or

south of the Kankakee River are not adequate substitutes given the increased

drayage costs and other logistical costs associated with transporting goods from the

LPC and JIT to these locations. This is especially important for big box stores,

commodity traders, and third-party logistics providers that require warehouse space

in very close proximity to the intermodal, and are willing to pay a premium for such

warehouse space.

        85.   Currently, CenterPoint controls approximately 80% of that market for

warehouse space within the Joliet Intermodal Zone. It has used its market power to

obtain rental rates that are approximately 20% higher than rates for warehouses



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outside of the Joliet Intermodal Zone. CenterPoint’s rents also increase annually at

approximately 10% higher rates than rents outside of the Joliet Intermodal Zone.

These significant price differences indicate that customers are willing to pay a

premium for warehouse space located in very close proximity to the intermodal, which

they do not view as reasonably interchangeable with warehouse space located further

away.

        86.   Pursuant to the anti-competitive road use restriction contained in the

40-year MOU, via the unlawful cooperation of HRE, which now holds the rights under

both the MOU and the Bridge Lease, if such provision is allowed to be enforced as

HRE has asserted, CenterPoint will have the ability to exclude competitors from

entering the Joliet Intermodal Zone’s commercial development market for decades by

preventing their ability to construct warehouse and distribution facilities in the Joliet

Intermodal Zone that are accessible to tractor trailers via an economical and safe

trucking route.

        87.   If successful, HRE and CenterPoint’s actions will significantly increase

travel distances for trucks traveling between the LPC and JIT and East Gate’s

warehouses. As shown in the map below, this will dramatically reduce the

attractiveness of East Gate’s warehouses to consumers of warehouse space in the

Joliet Intermodal Zone given increased drayage costs.




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                               CLAIMS FOR RELIEF

                         FIRST CAUSE OF ACTION
(Declaration that Portions of the MOU are illegal and unenforceable under
Section 1 of the Sherman Act Against CenterPoint and HRE) (15 U.S.C. § 1)

        88.   Plaintiffs incorporates by reference the allegations of the preceding

paragraphs of this Complaint, as though fully set forth herein.

        89.   Section 1 of the Sherman Act prohibits agreements that unreasonably

restrain trade.

        90.   The MOU is an agreement between HRE (formerly prior to assignment,

CenterPoint), the Illinois Department of Transportation, the County of Will, and the

City of Joliet. Section XII.B(3) of the MOU violates Section 1 of the Sherman Act

because it unreasonably restrains competition, solidifies CenterPoint’s monopoly in

the market for warehouse facilities in the Joliet Intermodal Zone, and prevents the


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entry of a disruptive new entrant, East Gate, thereby harming competition,

warehouse users, and the public at large.

        91.   This section of the MOU that gives CenterPoint a 40-year monopoly over

the Joliet Intermodal Zone offers no procompetitive benefits. To the contrary,

enforcement of these provisions would reduce toll revenue to the Houbolt Road Toll

Bridge and perpetuate CenterPoint’s dominant market position in the market for

warehouse facilities in the Joliet Intermodal Zone for years.

        92.   For these reasons, the court should enjoin the provision in Section

XII.B(3) of the MOU that prohibits the City from eliminating “trucking restrictions,

weight limits, or other similar regulations” on roads that enter or exit CenterPoint

Intermodal Center or are adjacent to such roads.

        93.   The MOU is not immune from federal antitrust scrutiny. The legislature

of the State of Illinois never expressed an intent to displace competition for

warehouse services in the Joliet Intermodal Zone, nor did it authorize any of the other

governmental MOU signatories to do so. In addition, no Illinois governmental entity

has supervised the competition-eliminating provisions in the MOU. In fact, the City

of Joliet has determined that the MOU does not restrict its inherent authority, power,

and jurisdiction to regulate truck traffic on City roads and has attempted to exercise its

police and other applicable powers to facilitate the movement of freight on trucks via a

direct, economical, and safe route.

                      SECOND CAUSE OF ACTION
   (Monopolization by Market Foreclosure in Violation of Section 2 of the
             Sherman Act against CenterPoint) (15 U.S.C. § 2)
        94.   Plaintiff incorporates by reference the allegations of paragraphs 1-87 of

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this Complaint, as though fully set forth herein.

        95.   Section 2 of the Sherman Act (15 U.S.C. § 2) prohibits, inter alia, the

willful monopolization of any part of trade or commerce among the States and any

conspiracy to achieve monopolization. Defendants’ conduct and practices are

anticompetitive, predatory, and/or exclusionary.

        96.   East Gate and NorthPoint have the requisite standing to assert

antitrust claims against Defendants because they are participants and competitors

in the relevant market for commercial warehouses and distribution facilities in the

Joliet Intermodal Zone, and they would continue constructing and developing

warehouses and distribution facilities in the Joliet Intermodal Zone if not for

CenterPoint’s unlawful conduct.

        97.   CenterPoint has a monopoly over the Joliet Intermodal Zone’s market

for warehouses and distribution facilities as it controls virtually all warehouse and

distribution facilities in and around the CLP and JIT, and it is excluding the sole

competitor capable of constructing warehouses and distribution facilities at scale

with comparable drayage savings to those offered by CenterPoint.

        98.   CenterPoint has undertaken its anticompetitive conduct with the

purpose of monopolizing, with the deliberate and specific intent to monopolize

warehouse and distribution facilities in the Joliet Intermodal Zone.

        99.   Commercial businesses attempting to enter the warehouse and

distribution facilities market and compete against CenterPoint in the Joliet

Intermodal Zone face a competitive disadvantage because they are forced to either



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construct warehouse and distribution facilities without tractor trailer access or are

forced to construct warehouse and distribution facilities further from the CLP and

JIT, significantly increasing drayage costs and logistics costs.

        100.   Consumers of warehouse and distribution facilities in the Joliet

Intermodal Zone have been deprived of their choice of warehouse and distribution

facilities on the basis of price, quality, reliability, and other criteria. Competition in

the market for warehouse and distribution facilities would lower lease prices, which

would in turn, lower the costs of goods traversing through the Joliet Intermodal Zone.

        101.   Significant and high barriers to market entry exist in the form of

CenterPoint’s effective veto over the construction of tractor-trailer accessible

roadways, scarcity of land in the Joliet Intermodal Zone, high capital investments,

and CenterPoint’s monopoly. These barriers discourage new entry into the relevant

market.

        102.   CenterPoint’s monopoly position has been acquired and maintained

through intentional exclusionary and predatory conduct, as opposed to business

acumen, accident, or by virtue of offering a superior product or service, greater

efficiency, or lower prices. The foregoing includes CenterPoint causing or convincing

HRE to agree to pursue its bad faith lawsuit to uphold its anticompetitive position.

        103.   CenterPoint’s anticompetitive acts have caused substantial economic

injury to East Gate and NorthPoint and have also injured competition in the relevant

markets by, inter alia, foreclosing, lessening and eliminating potential competition

and depriving consumers from securing competitive prices for warehouse and



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distribution facilities.

        104.   The aforesaid collective conduct of CenterPoint, HRE, and others has

produced antitrust injury to East Gate and NorthPoint, competition, and consumers,

and unless enjoined by the Court, will continue to produce at least the following

anticompetitive, exclusionary and injurious effects upon competition in interstate

commerce:

               (a)   Competition for warehouse and distribution facilities in the

relevant market has been substantially and unreasonably restricted, lessened,

foreclosed, and eliminated, and consumers have been forced to pay supra-competitive

prices for warehouse and distribution facilities in the Joliet Intermodal Zone;

               (b)   CenterPoint’s conduct has created and maintained significant

and insurmountable barriers to entry, thereby ensuring continued unlawful

maintenance of CenterPoint’s monopolies;

               (c)   Prices for goods and other commodities traveling through the CLP

and JIT have been artificially inflated because of CenterPoint’s warehouse and

distribution facilities monopoly in the Joliet Intermodal Zone; and

               (d)   Consumers have been deprived of any meaningful choices as to

selection, price, convenience, location and quality of services for warehouse and

distribution facilities in the Joliet Intermodal Zone.

        105.   By reason of, and as a direct and proximate result of CenterPoint’s

anticompetitive and exclusionary practices and conduct, East Gate and NorthPoint

have suffered and will continue to suffer, financial injury to their businesses and



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property. East Gate and NorthPoint have not yet calculated the precise extent of their

past damages and cannot now estimate with precision the future damages that

continue to accrue, but when East Gate and NorthPoint do so, they will seek leave of

the Court to insert the amount of damages sustained herein.

        106.   Specifically, as a direct and proximate result of CenterPoint’s continued

and willful collective and combined monopolization and misuse of monopoly power,

East Gate and NorthPoint are being and will continue to be irreparably injured by

and through the following: (1) the loss of revenue and profits that would have

otherwise been earned from services for warehouse and distribution facilities in the

Joliet Intermodal Zone; (2) the loss of market share that would otherwise have been

achieved by East Gate in a freely-competitive market; (3) diminution of the value of

the property and warehouse facilities developed by East Gate; and (4) the loss of good

will and value as a going concern, and East Gate and NorthPoint are entitled to treble

damages, costs, and their reasonable attorneys’ fees.

                      THIRD CAUSE OF ACTION
(Attempted Monopolization by Market Foreclosure in Violation of Section
        2 of the Sherman Act against CenterPoint) (15 U.S.C. § 2)
        107.   Plaintiffs incorporate by the allegations of paragraphs 1-87 of this

Complaint, as though fully set forth herein.

        108.   CenterPoint has attempted to monopolize the market for warehouse and

distribution facilities in the Joliet Intermodal Zone in violation of § 2 of the Sherman

Act (15 U.S.C. § 2).

        109.   East Gate transacts business and sells warehouse and distribution

facilities in the Joliet Intermodal Zone, which affects trade or commerce among the

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States.

        110.   CenterPoint possesses substantial market power in the relevant market

as demonstrated by CenterPoint’s high market share (approximately 80%), barriers

to entry, and CenterPoint’s exclusion of competition, and its ability to charge supra-

competitive prices in the relevant markets.

        111.   CenterPoint has implemented the anticompetitive scheme set forth

above with the specific intent to monopolize the market for warehouse and

distribution facilities in the Joliet Intermodal Zone. CenterPoint’s scheme constitutes

exclusionary conduct within the meaning of the Sherman Act including, without

limitation, causing or convincing HRE to proceed with a sham lawsuit against HRE’s

own interests and in furtherance of CenterPoint’s anticompetitive aims.

        112.   There is a dangerous probability that CenterPoint will succeed in

unlawfully extending its monopoly in the relevant markets through its

anticompetitive scheme. Already, East Gate will be effectively foreclosed from

competing for any substantial portion of sales for warehouse and distribution

facilities in the Joliet Intermodal Zone if CenterPoint succeeds in blocking East Gate’s

access to tractor-trailer accessible roadways connecting the Third Coast Intermodal

Hub to the CLP and JIT via a direct, economical, and safe route.

        113.   CenterPoint’s scheme has suppressed competition and has produced

anticompetitive effects in the relevant market, including East Gate and NorthPoint’s

antitrust injury and damages, which is directly and proximately affecting trade or

commerce among the States.



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        114.   CenterPoint’s conduct has no procompetitive benefit or justification. To

the extent there is found to be any procompetitive benefit, the anticompetitive effects

of CenterPoint’s behavior outweigh any purported procompetitive justifications.

        115.   As a result of the harm to competition caused by CenterPoint’s conduct,

East Gate and NorthPoint have suffered substantial injuries to their businesses and

property in an amount to be proven at trial and automatically trebled, as provided by

§ 2 of the Sherman Act (15 U.S.C. § 2), along with its costs and reasonable attorney’s

fees.

        116.   CenterPoint should be permanently enjoined from continuing its

violations of § 2 of the Sherman Act (15 U.S.C. § 2). Without injunctive relief, East

Gate and NorthPoint will continue to suffer irreparable injury as a result of

CenterPoint’s unlawful conduct. East Gate and NorthPoint’s remedy at law is not by

itself adequate to compensate East Gate and NorthPoint for the harm inflicted and

threatened by CenterPoint.

                         FOURTH CAUSE OF ACTION
    (Attempted Monopolization by Market Foreclosure in Violation of the
          Illinois Antitrust Act against CenterPoint) (740 ILCS 10/3)
        117.   Plaintiffs incorporate by reference the allegations of paragraphs 1-87 of

this Complaint, as though fully set forth herein.

        118.   CenterPoint has attempted to monopolize the market for warehouse

and distribution facilities in the Joliet Intermodal Zone in violation of the Illinois

Antitrust Act (740 ILCS 10/3).

        119.   East Gate transacts business and offers services in connection with

warehouse and distribution facilities in the Joliet Intermodal Zone, located within

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the state of Illinois.

        120.   CenterPoint possesses substantial market power in the relevant market

as demonstrated by CenterPoint’s high market share, barriers to entry, CenterPoint’s

exclusion of competition, and its ability to charge supra-competitive prices in the

relevant markets.

        121.   CenterPoint has implemented the anticompetitive scheme set forth

above with the specific intent to monopolize the relevant markets. CenterPoint’s

scheme constitutes exclusionary conduct within the meaning of the Illinois Antitrust

Act including, without limitation, causing or convincing HRE to undertake a bad faith

lawsuit in furtherance of CenterPoint’s anticompetitive objectives.

        122.   Unless enforcement of the MOU is enjoined by this Court, CenterPoint

will succeed in unlawfully extending its monopoly in the relevant markets through

its anticompetitive scheme. East Gate will be effectively foreclosed from competing

for any substantial portion of sales for warehouse and distribution facilities in the

Joliet Intermodal Zone if CenterPoint succeeds in blocking East Gate’s access to

tractor-trailer accessible roadways connecting the Third Coast Intermodal Hub to the

CLP and JIT via a direct, economical, and safe route.

        123.   CenterPoint’s conduct has no procompetitive benefit or justification. To

the extent there is found to be any procompetitive benefit, the anticompetitive effects

of CenterPoint’s behavior outweigh any purported procompetitive justifications.

        124.   As a result of the harm to competition caused by CenterPoint’s conduct,

East Gate and NorthPoint have suffered substantial injuries to their businesses and



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property in an amount to be proven at trial and automatically trebled, as provided by

the Illinois Antitrust Act (740 ILCS 10/7), and its costs and reasonable attorneys’ fees.

        125.   CenterPoint should be permanently enjoined from continuing its

violations of the Illinois Antitrust Act. Without injunctive relief, East Gate and

NorthPoint will continue to suffer irreparable injury as a result of CenterPoint’s

unlawful conduct. East Gate and NorthPoint’s remedy at law is not by itself adequate

to compensate East Gate and NorthPoint for the harm inflicted and threatened by

CenterPoint.

                     FIFTH CAUSE OF ACTION
(Unlawful Agreement in Violation of Section 1 of the Sherman Act against
                CenterPoint and HRE) (15 U.S.C. § 1)
        126.   Plaintiffs incorporate by reference the allegations of paragraphs 1-87 of

this Complaint, as though fully set forth herein.

        127.   Section 1 of the Sherman Act (15 U.S.C. § 1) prohibits, inter alia,

contracts, agreements or arrangements that unreasonably restrain competition to the

detriment of consumers.

        128.   CenterPoint and HRE have entered into an unlawful agreement in

restraint of trade and commerce. Following the assignment of the MOU to HRE, HRE

agreed that it would enforce the MOU for the benefit of CenterPoint to prohibit

potential competitors from obtaining tractor-trailer access to warehouse and

distribution facilities in the Joliet Intermodal Zone via a direct, economical, and safe

route. According to CenterPoint and HRE, the MOU unlawfully grants HRE the

unilateral power to restrict weight limits on local public roads, even for the City-

approved temporary connection to Millsdale Road for the Third Coast Intermodal

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Hub project. HRE has attempted to exercise this power under the unlawful provision

of the MOU to foreclose competition and unreasonably restrain trade in violation of

Section 1 of the Sherman Act.

        129.   The coordinated, collusive, and collective actions of CenterPoint and

HRE have the purpose and effect of eliminating or substantially restricting

competition in the market for warehouse and distribution facilities in the Joliet

Intermodal Zone and raising the prices of warehouse and distribution facilities in the

Joliet Intermodal Zone above competitive levels.

        130.   There is no legitimate business justification for HRE to enforce the

MOU’s restriction on the construction of tractor-trailer accessible roadways within

the Joliet Intermodal Zone via a direct, economical, and safe route, particularly

where, as here, that additional access point would further the business aim of HRE

to recoup and generate a return on its investment in Houbolt Road Toll Bridge via

toll revenue. The anticompetitive effects of this restraint outweigh any purported

beneficial effects on competition.

        131.   HRE and CenterPoint’s conduct has produced actual and antitrust

injury to East Gate and NorthPoint, competition and consumers including a

substantial foreclosure or elimination of competition in the relevant market, the

creation and maintenance of significant barriers to entry, inflated prices for

warehouse and distribution facilities in the Joliet Intermodal Zone, and injury to

consumers who have been deprived of any choice between warehouse and distribution

facilities in the Joliet Intermodal Zone and have been forced to pay supra-competitive



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prices for warehouse and distribution facilities in the relevant market.

        132.   By reason of, and as a direct and proximate result of, HRE’s agreement

to enforce the MOU on CenterPoint’s behalf, East Gate and NorthPoint have been

injured in their business and property, including but not limited to (1) the loss of

revenue and profits that would have otherwise been earned from services for

warehouse and distribution facilities in the Joliet Intermodal Zone; (2) the loss of

market share that would otherwise have been achieved by East Gate in a freely-

competitive market; and (3) the loss of good will and value as a going concern.

Consumers have also been harmed by the unreasonable and substantial restriction

of competition for warehouse and distribution facilities in the Joliet Intermodal Zone,

eliminated consumer choice and price competition for such services, and consumers’

reduced access to East Gate’s competitive services. East Gate and NorthPoint have

not yet calculated the precise extent of their past damages and cannot now estimate

with precision the future damages that continue to accrue, but when East Gate and

NorthPoint do so, they will seek leave of the Court to insert the amount of damages

sustained herein.

        133.   By acting under the control of CenterPoint, at the direction of

CenterPoint, or in agreement with CenterPoint, HRE has carried out in tandem all

actions of CenterPoint as described above in violation of the Sherman Act.

        134.   As a result of CenterPoint and its co-conspirators’ (including,

specifically, HRE’s) violation of 15 U.S.C. § 1, East Gate and NorthPoint are entitled

to treble damages, costs, and reasonable attorneys’ fees.



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                      SIXTH CAUSE OF ACTION
  (Unlawful Agreement in Violation of 740 ILCS 10/3 against CenterPoint
                               and HRE)

        135.   Plaintiffs incorporate by reference the allegations of paragraphs 1-87 as

though fully set forth herein.

        136.   CenterPoint and HRE entered into an agreement to restrain trade in

violation of the Illinois Antitrust Act (740 ILCS 10/3).

        137.   This agreement includes an understanding and concerted action

between and among CenterPoint and its co-conspirators in furtherance of a scheme

whereby CenterPoint and its co-conspirators sought to exclude competition for

warehouse and distribution facilities in the Joliet Intermodal Zone.

        138.   CenterPoint and HRE’s agreement impacted the market for warehouse

and distribution facilities in the Joliet Intermodal Zone, which affected commerce in

the state of Illinois, including East Gate’s attempt to enter the market for warehouse

and distribution facilities in the Joliet Intermodal Zone.

        139.   The contract, combination, or conspiracy has had the following effects,

among others: substantial restriction of competition for warehouse and distribution

facilities in the Joliet Intermodal Zone, elimination of consumer choice and price

competition for such services, and consumers’ reduced access to East Gate’s

competitive services.

        140.   As a proximate result of CenterPoint and its co-conspirators’ unlawful

conduct, East Gate and NorthPoint have suffered injury to their businesses or



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property.

        141.   As a result of CenterPoint and its co-conspirators’ (including,

specifically, HRE’s) violation of 740 ILCS 10/3, East Gate and NorthPoint are entitled

to treble damages, costs, and reasonable attorneys’ fees pursuant to 740 ILCS 10/7.

                          SEVENTH CAUSE OF ACTION
                     (Unjust Enrichment against CenterPoint)

        142.   Plaintiffs incorporate by reference the allegations of paragraphs 1-87 as

though fully set forth herein.

        143.   In the alternative or in addition to the foregoing claims, East Gate and

NorthPoint are entitled to recovery under Illinois state law for unjust enrichment.

        144.   CenterPoint has unjustly retained benefits received, to the detriment of

East Gate and NorthPoint. CenterPoint’s unjust enrichment includes, but is not

limited to, profits received by CenterPoint as a result of its wrongful actions which

attempted and actually excluded East Gate from competing in the market for

warehouse and distribution facilities in the Joliet Intermodal Zone.

        145.   As a direct result of CenterPoint’s unjust enrichment, East Gate and

NorthPoint have suffered impoverishment and has been injured in its business or

property.

        146.   In the event East Gate and NorthPoint do not fully prevail on its other

claims, no adequate remedy exists at law to allow East Gate and NorthPoint to seek

restitution for their injuries.

        147.   No justification exists for CenterPoint’s receipt or retention of the unjust

enrichment it has received as a result of its wrongful actions which directly injured


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East Gate and NorthPoint. Therefore, East Gate and NorthPoint are entitled to

disgorgement of all profits resulting from CenterPoint’s receipt of inflated payments

arising out of its actions to exclude competitors from participating in the market for

warehouse and distribution facilities in the Joliet Intermodal Zone.

                           EIGHTH CAUSE OF ACTION
               (Aiding and Abetting against HRE under Illinois law)

        148.   Plaintiffs incorporate by reference the allegations of paragraphs 1-87 as

though fully set forth herein.

        149.   HRE accepted the assignment of the MOU, an unreasonable restraint of

trade. HRE did so knowing that CenterPoint wanted it to pursue a lawsuit against

the City of Joliet in order to maintain CenterPoint’s monopoly over warehouse

services in the Joliet Intermodal Zone. HRE continues to perpetuate the

unreasonable restraints of trade contained in the MOU, including by pursuing a

lawsuit, at the direction of CenterPoint or in agreement with CenterPoint, against

HRE’s own interest to further CenterPoint’s anticompetitive and monopolistic

objectives.

        150.   HRE filed its lawsuit knowing it was pretextual and based on false

statements. HRE then sought to enforce an agreement containing an unreasonable

restraint of trade in order to exclude East Gate from competing in the market for

warehouse services in the Joliet Intermodal Zone. HRE either did so at the direction

of CenterPoint or under agreement with CenterPoint.

        151.   In accepting the assignment and pursuing its lawsuit, HRE knowingly

and substantially assisted CenterPoint in maintaining its monopoly power over the


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market for warehouse services in the Joliet Intermodal Zone.

        152.   As a direct result of HRE’s actions to aid and abet CenterPoint, East

Gate and NorthPoint has suffered impoverishment and has been injured in their

businesses or property.

                                RELIEF REQUESTED

    WHEREFORE, Plaintiffs NorthPoint Development, LLC and East Gate-Logistics

Park Chicago, LLC request the entry of judgment against Defendants as follows:

        1.     A declaration that Section XII.B(3) of the MOU violates state and federal

antitrust laws, and is therefore void;

        2.     An order enjoining the enforcement of Section XII.B(3) of the MOU

against the City of Joliet;

        3.     That the conduct of Defendants be adjudged to violate Section 2 of the

Sherman Act;

        4.     That the conduct of Defendants be adjudged to violate Section 1 of the

Sherman Act;

        5.     That the conduct of Defendants be adjudged to violate the Illinois

Antitrust Act;

        6.     That Plaintiffs recover treble the amount of their actual damages

sustained from Defendants by reason of the foregoing violations of federal and state

antitrust laws;

        7.     That Defendants be preliminarily and permanently enjoined from

engaging in the wrongful conduct, and ordered to cease interference with the Third



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Coast Intermodal Hub’s ability to access the CLP and JIT via tractor-trailer

accessible roadways so as to enable competition in the relevant market;

        8.    That Plaintiffs be awarded damages in an amount according to proof

against Defendants for Defendants’ unjust enrichment in violation of Illinois state

law;

        9.    That Plaintiffs be awarded their reasonable attorneys’ fees and costs of

litigation; and

        10.   That this Court provide such other and further relief as may be just and

proper.

                                DEMAND FOR JURY TRIAL

        Plaintiffs respectfully demand a trial by jury of all issues so triable.

Dated: May 8, 2024                               Respectfully submitted,

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